JS 44 (Rev. 06/17)                                                                         CIVIL COVER SHEET
The JS 44 c iv il cover sheet and the information con tained h erein n either replace nor supplement the filing and service of pleadings or other p apers as required b y l aw , excep t as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is re quired for the use of the Clerk of Court for the
purpose of initiating the civil d ocke t sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                                        DEFENDANTS
                                                                                   Gooper Hermetic, Ltd., an Israeli limited company, Steve Charles
P.l.C. INTERNATIONAL INC.,(d.b.a. H20dyssey),a California corporation Goldstein, an individual, and DOES 1-10, inclusive
   (b) County of Residen ce of First L isted P lain tiff $__a_n_D_ie_g~o_ _ _ ____  County of Residen ce of F irst L isted Defendant
                                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (JN U.S. PLAINTIFF CASES ONLY)
                                                                                                                         NOTE:        IN LAND CONDEMNATION CASES, USE TIIE LOCATION OF
                                                                                                                                      1HE TRACT OF LAND INVOLVED.

        (C)    Attorneys (Finn Name, Address. and Telephone Number)                                                       Attorneys (I/Known)


                                                                                                                                                                 '19CV0734 GPC LL
See Attachment


II. BASIS OF JURISDICTION (Placeon "X"inOneBoxOnly)                                                         III. CITIZENSHIP OF PRINCIPAL p ARTIES (Place an "X" in One Box for Plaintiff
                                                                                                                     (For Diversity Cases Only)                                             and One Box for Defendant)
0 I         U.S. Government                       ~ 3 Federal Question                                                                        PTF           DEF                                            PTF      DE F
               Plaintiff                                     (U.S. Government Not a Porty)                      Citizen of This State         0 I           0 I        Incorporated or Principal Place       0 4     04
                                                                                                                                                                         of Business In This State

0 2         U.S. Government                          0 4   Diversity                                            Citizen of Another State           0   2    0    2     Incorporated and Principal P lace          0   5     0 5
               Defendant                                     (Indicate Citizenship ofParties in Item ill)                                                                 of Business In Another State

                                                                                                                                                   0   3    0    3     Foreign Nation                             0   6     06

IV NATURE OF SUIT (Place an "X" in One Box Only)
I                . ~, lNTll A [ ""'" I'                                           ,.K '                                                    .   y                D&
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                                                                                                                                                             C lick here for: Nature of Suit Code Descriotions.
                                                                                                                                                                                                  lJ   ~M . K             .r~     I
    0   110 Insurance                                 PERSONAL INJU RY                P ERSONAL INJURY          0 625 Drug Related Seizure             0 422 Appeal 28 USC 158             0 375 False Claims Act
    0   120 Marine                               0    310 Airplane                  0 365 Personal Injury -           of Property 21 USC 881           0 423 Withdrawal                    o 376 Qui Tam(31 use
    0   130 Miller Act                           0    315 Airplane Product                 Product Liability    0 690 Other                                  28 USC 157                          3729(a))
    0   140 Negotiable Instrument                          Liability                0 367 Health Care/                                                                                     0 400 State Reapportionment
    0   150 Recovery of Overpayment              0    320 Assault, Libel &                 Pharmaceutical                                                                 UH " .. ' "      0 410 Antitrust
            & Enforcement of Judgment                      Slander                         Personal Injury                                             ~ 820 Copyrights                    0 430 Banks and Banking
    0   151 Medicare Act                          0   330 Federal Employers'               Product Liability                                             830 Patent                        0 450 Commerce
    0   152 Recovery of Defaulted                          Liability                0 368 Asbestos Personal                                            0 835 Patent - Abbreviated          0 460 Deportation
            Student Loans                         0   340Marine                             Injury Product                                                   New Drug Application          0 470 Racketeer Influenced and

    0
            {Excludes Veterans)
        153 Recovery of Overpayment
            of Veteran's Benefits
                                                  0

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                                                      345 Marine Product
                                                           Liability
                                                      350 Motor Vehicle
                                                                                            Liability
                                                                                     PERSONAL PROPERTY
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                                                                                                                0 710 Fair Labor Standanls
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                                                                                                                                                                                 .               Corrupt Organizations
                                                                                                                                                                                           0 480 Conswner Credit
                                                                                                                                                                                           0 490 Cable/Sat TV
    0   160 Stockholders' Suits                   0   355 Motor Vehicle             0 371 Truth in Lending             Act                             0   862 Black Lung (923)            0 850 Securities/Commodities/
    0   190 Other Contract                                Product Liability         0 380 Other Personal        0 720 Labor/Management                 0   863 DIWC/DIWW (405(g))                 Exchange
    0   195 Contract Product Liability            0   360 Other Personal                   Property Damage             Relations                       0   864 SSID Title XVI              0 890 Other Statutory Actions
    0   196 Franchise                                     Injury                    0 3 85 Property Damage      0 740 Railway Labor Act                0   865 RSI (405(g))                0 891 Agricultural Acts
                                                  0   362 Personal Injwy -                 Product Liability    0 7 51 Family and Medical                                                  0 893 Environmental Matters
                                                          Medical M•lnrnmce                                             Leave Act                                                          0 895 Freedom of Infonnation
I           REAL PROPERTY                               CIVIL RIGHTS                 P"'""NER PETmONS           0 790 Other Labor Litigation             FEDEIU.J TA.Y"UITS                      Act
 0      210 Land Condemnation                     0   440 Other Civil Rights          Habeas Corpus:            0 791 Employee Reti=nent               0 870 Taxes (U.S. Plaintiff         0 896 Arbitration
 0      220 Foreclosure                           0   441 Voting                    0 463 Alien Detainee               Income Security Act                   or Defendant)                 0 899 Adntinistrative Procedure
 0      230 Rent Lease & Ejectrnent               0   442 Employment                0 510 Motions to Vacate                                            0 871 IRS-Third Party                     Act/Review or Appeal of
  0     240 Torts to Land                         0   443 Housing!                        Sentence                                                           26 USC 7609                         Agency Decision
  0     245 Tort Product Liability                        Accommodations            0 530 General                                                                                          0 950 Constitutionality of
  0     290 All Other Roal Property               0   445 Amer. wiDisabilities -    0 535 Death Penalty                IMMIGRATION                                                               State Statutes
                                                          Employment                  Other :                    0 462 Naturalization Application
                                                  0   446 Amer. w!Disabilities -    0 540 Mandamus & Other       0 465 Other Immigration
                                                          Other                     0 550 Civil Rights                 Actions
                                                  0   448 Education                 0 555 Prison Condition
                                                                                    0 560 Civil Detainee -
                                                                                          Conditions of
                                                                                          Confinement
    V. ORIGIN (Place an "){"in One Box Only)
)( 1 Original                             0 2 Removed from              0     3    R emanded from           0 4 Reinstated or        0 5   Transferred from            0 6 M ultidistrict              0 8 Mu ltidistrict
              Proceeding                      State Court                          Appellate Court               R eop ened                Another District                   Litigation -                      Litigation -
                                                                                                                                           (; eci ~                           Transfer                          D irect File
                                                       Cite th e U.S. Civil Statute under which you are fi ling (Do not cite jurisdictional slalutes unless diversity):
    VI CAUSE OF ACTION                                .,....s...u_.s.....""'c..........,..27...1......2s.._..u....s-..c............,2""2""0...1 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        •                                              Brief description of cau se:
                                                        Declarato           'ud ment of non-infrin ement false atent markin                            Lanham Act - False Advertisin
    VII. REQUESTED IN     0                                 CHECK IF THIS IS A CLASS              ACTION           DEMANDS                                           CHECK YES only if demand ed in complaint:
         COMPLAINT:                                         UNDER RULE 23, F.R.Cv.P .                                                                                JURY DEMAND:               ) ( Yes           ONo

    VIII. RELATED CASE(S)
          IF ANY                                           (See instroctions):
                                                                                    JUDGE                                                                  DOCKET NUMBER
    DATE                                                                                  SIGNATURE OF ATTORNEY OF RECORD
April 22, 2019                                                                       Isl Cody R. LeJeune
    FOR OFFICE USE ONLY

        RECEIPT#                               AMOUNT                                       APPLYING lFP                                  JUDGE                               MAG.JUDGE
ATTACHMENT

I (c): Attorneys for Plaintiff

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Cody R. LeJeune (CSB No. 249,042)
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